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                          Exhibit 3
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March 31, 2021
Via Certified Mail

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        RE:     60-Day Notice of Intent to Sue for Violations of the Endangered Species Act in
                Connection with EPA’s Approval of Florida’s Assumption of CWA 404
                Permitting

       This letter serves as a 60-day notice of the Center for Biological Diversity’s, Defenders of
Wildlife’s, Sierra Club’s, Conservancy of Southwest Florida’s, Florida Wildlife Federation’s,
Miami Waterkeeper’s, and St. Johns Riverkeeper’s intent to sue the Environmental Protection
Agency (“EPA”) for violation of the Endangered Species Act (“ESA”) in connection with its
approval of the Florida Department of Environmental Protection’s (“FDEP”) assumption of the
administration of the dredge and fill permitting program under section 404 of the Clean Water
Act. EPA’s violations arise from its failure to comply with the substantive and procedural
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requirements of section 7 of the ESA, as well as the prohibition on “take” of listed species in
section 9, in approving the assumption. 16 U.S.C. §§ 1536, 1538. This letter constitutes notice
required by the ESA, 16 U.S.C. § 1540(g)(2)(A)(i), prior to commencement of legal action.

I.      THE ENDANGERED SPECIES ACT

         Congress enacted the ESA in 1973 to provide for the conservation of endangered and
threatened fish, wildlife, plants, and their natural habitats. 16 U.S.C. § 1531. 1 The ESA imposes
substantive and procedural obligations on all federal agencies with regard to species that are
listed or proposed for listing under the Act, as well as their critical habitats. See id. §§ 1536(a)(1),
(a)(2), (a)(4), 1538(a); 50 C.F.R. § 402.01.

         Section 7 of the ESA and its implementing regulations require each federal agency, in
consultation with the appropriate wildlife agency—the U.S. Fish and Wildlife Service (“FWS”)
and/or National Marine Fisheries Service (“NMFS”)—to insure that any action authorized,
funded, or carried out by the agency is not likely to (1) jeopardize the continued existence of
any threatened or endangered species or (2) result in the destruction or adverse modification of
the critical habitat of such species. 16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14(a). “Action” is
defined broadly to encompass “all activities or programs of any kind authorized, funded, or
carried out, in whole or in part, by Federal agencies.” 50 C.F.R. § 402.02. “Jeopardize the
continued existence of” is defined by regulation as engaging in an action that “reasonably
would be expected, directly or indirectly, to reduce appreciably the likelihood of both the
survival and recovery of a listed species in the wild by reducing the reproduction, numbers, or
distribution of that species.” 50 C.F.R. § 402.02. The obligation to “insure” against a likelihood
of jeopardy or adverse modification requires agencies to give the benefit of the doubt to
endangered species and to place the burden of risk and uncertainty on the proposed
management action. See Sierra Club v. Marsh, 816 F.2d 1376, 1386 (9th Cir. 1987) (citing Tennessee
Valley Authority v. Hill, 437 U.S. 153, 174-184 (1978)). The substantive duty imposed by section
7(a)(2) is constant, relieved only by an exemption from the Endangered Species Committee. 16
U.S.C. § 1536(h).

        For each federal action, the federal action agency—here, EPA—must request from the
wildlife agencies a list of any species listed or proposed for listing under the ESA that may be
present in the area of the agency action. 16 U.S.C. § 1536(c)(1); 50 C.F.R. § 402.12. “Action area”
is defined by regulation to be broader than simply the project area: it means “all areas to be
affected directly or indirectly by the Federal action and not merely the immediate area involved
in the action.” 50 C.F.R. § 402.02.



1
 Congress defined “conservation” as “the use of all methods and procedures which are
necessary to bring any endangered species or threatened species to the point at which the
measures provided pursuant to [the Act] are no longer necessary.” Id. § 1532(3) (emphasis
added).
                                                   2
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        Section 7 requires an action agency to engage in formal or informal consultation when it
determines that its proposed action “may affect” listed species or critical habitat. Id. §§ 402.13,
402.14. “The minimum threshold for an agency action to trigger consultation with [the wildlife
agencies] is low . . . .” W. Watersheds Project v. Kraayenbrink, 632 F.3d 472, 496 (9th Cir. 2011).
“Any possible effect, whether beneficial, benign, adverse or of an undetermined character, triggers
the formal consultation requirement . . . .” 51 Fed. Reg. 19,926, 19,949 (June 3, 1986) (emphases
added); see also U.S. Fish & Wildlife Serv. & Nat’l Marine Fisheries Serv., Endangered Species
Consultation Handbook, at xvi (1998) (“May affect [is] the appropriate conclusion when a
proposed action may pose any effects on listed species or designated critical habitat.”). Effects
determinations must be based on the sum of all effects caused by the action. 50 C.F.R. § 402.02
(defining “effects of the action.”). An action agency is not obligated to consult with the wildlife
agencies only if the action agency properly determines that its proposed action will have no
effect on listed species or critical habitats. Id. § 402.14. Both the action agency and the wildlife
agency must “use the best scientific and commercial data available” in evaluating the action’s
effects. 16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14(d), (g)(8).

         If an action may affect a listed species or critical habitat, the action agency must either
engage in formal consultation or obtain the wildlife agency’s written concurrence that the action
is not likely to adversely affect listed species or critical habitat. 50 C.F.R. §§ 402.13(a), 402.14.
Formal consultation concludes in the issuance of a biological opinion that determines whether
the action is likely to jeopardize the continued existence of the listed species and/or adversely
modify or destroy critical habitat. 16 U.S.C. § 1536(b)(3)(A); 50 C.F.R. § 402.14(h). Jeopardy
exists if an action reasonably would be expected, directly or indirectly, to appreciably reduce
the likelihood of the survival or recovery of a listed species in the wild. 50 C.F.R. § 402.02.
“[D]estruction or adverse modification of critical habitat” is any “direct or indirect alteration
that appreciably diminishes the value of critical habitat as a whole for the conservation of a
listed species.” Id.

        The action agency also has a mandatory duty to confer with wildlife agencies on any
actions that are “likely to jeopardize the continued existence of any proposed species or result in
the destruction or adverse modification of proposed critical habitat.” Id. § 402.10(a). The
conference process “is designed to assist the Federal agency and any applicant in identifying
and resolving potential conflicts at an early stage in the planning process.” Id.

         Section 7 of the ESA requires that a biological opinion “detail[] how the agency action
affects the species or its critical habitat.” 16 U.S.C. § 1536(b)(3)(A); see also 50 C.F.R.
§ 402.14(h)(1)(ii), (iii). The wildlife agency must, in the biological opinion: 1) evaluate the
current status and environmental baseline of affected species and critical habitats, 2) assess the
effects of the action and cumulative effects on those species and habitats, and 3) analyze
whether the effects of the action, when added to the environmental baseline together with any
cumulative effects, is likely to jeopardize the continued existence of the species or adversely
modify their critical habitats. 50 C.F.R. § 402.14(g). If the wildlife agency concludes that the
proposed action is likely to jeopardize the species, it must specify reasonable and prudent

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alternatives that would avoid the likelihood of jeopardy. 16 U.S.C. § 1536(b)(3)(A); 50 C.F.R.
§ 402.14(h)(2).

        The ESA requires the wildlife agency to provide an incidental take statement with the
biological opinion when the agency anticipates that incidental taking of a threatened or
endangered species will occur. 16 U.S.C. § 1536(b)(4); 50 C.F.R. § 402.14(i). 2 This requirement
applies even if take of the species is not prohibited by statute or regulation. Ctr. for Biological
Diversity v. Salazar, 695 F.3d 893, 910–11 (9th Cir. 2012). The statement must specify the
permissible level of taking. 16 U.S.C. § 1536(b)(4); 50 C.F.R. § 402.14(i)(1)(i). Where the agency
establishes that it cannot numerically quantify take, the statement may employ a “surrogate” to
express the amount of take, but the surrogate must include “a clear standard for determining
when the level of anticipated take has been exceeded.” 50 C.F.R. § 402.14(i)(1)(i).

        An incidental take statement serves as a check on the biological opinion’s assumptions
and conclusions, and provides for monitoring. 50 C.F.R. § 402.14(i)(3); see also Salazar, 695 F.3d
at 911 (explaining purpose of ITS is to “serve[] as a check on the agency’s original decision that
the incidental take of listed species resulting from the proposed action will not [jeopardize the
continued existence of the species]” (second alteration in original) (citation omitted)). The
amount of take set out in the incidental take statement acts as a trigger that, if exceeded,
invalidates the safe harbor, and requires the agencies to immediately reinitiate consultation. 50
C.F.R. § 402.14(i)(4). In addition, the incidental take statement must specify reasonable and
prudent measures that the wildlife agency considers necessary or appropriate to minimize the
effects of take, as well as reporting requirements and other terms and conditions with which the
action agency must comply in order to implement the reasonable and prudent measures. 16
U.S.C. § 1536(b)(4)(B); 50 C.F.R. § 402.14(i)(1).

         Once the action agency has initiated consultation, section 7(d) prohibits it from making
“any irreversible or irretrievable commitment of resources with respect to the agency action
which has the effect of foreclosing the formulation or implementation of any reasonable and
prudent alternative measures” which would avoid violating ESA section 7(a)(2). 16 U.S.C. §
1536(d); 50 C.F.R. § 402.09. This prohibition is not an exception to the requirements of section
7(a)(2); it is in addition to the requirements of section 7(a)(2) and ensures that section 7(a)(2)’s
substantive mandate is met. See, e.g., Pac. Rivers, 30 F.3d at 1056–57 & n.14; Defs. of Wildlife v.
Jackson, 791 F. Supp. 2d 96, 113 (D.D.C. 2011). This prohibition remains in effect until the
procedural requirements of section 7(a)(2) are satisfied. 50 C.F.R. § 402.09.




2
 Section 9 of the ESA prohibits “take” of endangered species by any person, which includes
federal agencies. 16 U.S.C. § 1538(a)(1). “Take” means to “harass, harm, pursue, hunt, shoot,
wound, kill, trap, capture, or collect.” Id. § 1532(19). FWS and NMFS have extended take
prohibitions by regulation to most threatened species under their respective jurisdictions. See
50 C.F.R. § 17.31(a).
                                                  4
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         Congress established the section 7 consultation process explicitly “to ensure compliance
with the [ESA’s] substantive provisions.” Thomas v. Peterson, 753 F.2d 754, 764 (9th Cir. 1985)
(“The ESA’s procedural requirements call for a systematic determination of the effects of a
federal project on endangered species. If a project is allowed to proceed without substantial
compliance with those procedural requirements, there can be no assurance that a violation of
the ESA’s substantive provisions will not result.”); see also Wash. Toxics Coal. v. EPA, 413 F.3d
1024, 1034 (9th Cir. 2005) (“The purpose of the consultation process . . . is to prevent later
substantive violations of the ESA.”); Pac. Rivers Council v. Thomas, 30 F.3d 1050, 1056–57 (9th Cir.
1994) (“Only after the [agency] complies with § 7(a)(2) can any activity that may affect the
protected [species] go forward.”). Therefore, until EPA completes the necessary consultation(s),
it is out of compliance with both its procedural and substantive section 7(a)(2) obligations.

         Even after the procedural requirements of a consultation are complete, however, the
ultimate duty to ensure that an activity does not jeopardize a listed species lies with the action
agency. An action agency’s reliance on an inadequate, incomplete, or flawed biological opinion
to satisfy its duty to avoid jeopardy is arbitrary and capricious. See, e.g., Pyramid Lake Tribe of
Indians v. U.S. Navy, 898 F.2d 1410, 1415 (9th Cir. 1990); Stop H-3 Ass’n. v. Dole, 740 F.2d 1442,
1460 (9th Cir. 1984). Compliance with the biological opinion and its incidental take statement
protects federal agencies, and others acting under the biological opinion, from enforcement
action under section 9’s prohibition against take; 3 however, take not in compliance with a
biological opinion or absent a valid take statement is in violation of section 9 of the ESA. Thus,
the substantive duty not to jeopardize listed species (or adversely modify critical habitat)
remains in effect regardless of the status of the consultation.

II.    BACKGROUND

       A.      EPA’S Approval of Florida’s Assumption of CWA 404 Permitting

       On August 20, 2020, EPA received an application from Florida requesting to assume the
administration of the Clean Water Act’s dredge and fill permitting program. Under the
assumption, the Florida Department of Environmental Protection (“FDEP”) would be
responsible for permitting dredge and fill activities in all Waters of the United States
(“WOTUS”) in the State that are not retained by the U.S. Army Corps of Engineers. The Corps
would retain permitting authority in tidal waters and adjacent wetlands within a 300-foot
administrative boundary.

        Dredging and filling in rivers, lakes, wetlands, and other WOTUS affects the
environment and species not only in the immediate area, but also in upland and downstream
areas. EPA accordingly recognized that it has a duty to complete ESA section 7 consultation on
the effects that the 404 permitting program may have on protected species and critical habitats. 4

3
 16 U.S.C. §§ 1536(o)(2); 1538(a); 50 C.F.R. § 17.31(a).
4
 See, e.g., U.S. Envtl. Prot. Agency, ESA Biological Evaluation for Clean Water Act Section 404
Assumption by the State of Florida (Aug. 2020) [hereinafter BE].
                                                  5
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        On November 22, 2019, FDEP sent a request to FWS and NMFS for input on a draft
species list for Florida’s assumption of the 404 Program. NMFS sent FDEP a response on April
15, 2020, stating that ESA-listed species under NMFS’ jurisdiction “do not occur in waters that
are assumable by the state” 5 On September 2, 2020, based on NMFS’ April 15 jurisdictional
determination, EPA determined that Florida’s assumption of the 404 Program would have no
effect on listed species under NMFS’ jurisdiction. On September 3, 2020, NMFS concurred with
EPA’s determination—still premised on NMFS’ jurisdictional determination.

          EPA submitted its biological evaluation (“BE”) to FWS and initiated formal consultation
on September 2, 2020. EPA’s BE found that Florida’s assumption is “likely to adversely affect”
164 species under FWS’ jurisdiction, is “not likely to adversely affect” 9 species (red wolf, gray
bat, little brown bat, Indiana bat, Key Largo cotton mouse, whooping crane, Georgia blind
salamander, bigcheek cave crayfish, and Ocala vetch), and would have “no effect” on 60
species. 6 Notably, EPA found the action would have “no effect” on shortnose sturgeon, Gulf
sturgeon, or Atlantic sturgeon 7— despite EPA’s own comment that “the action could result in a
[likely to adversely affect] determination” for shortnose sturgeon, 8 and NMFS’ statement that
all three species occur in Florida’s rivers (and that critical habitat for Gulf sturgeon is
designated in several Florida rivers). 9 EPA noted that critical habitat is designated for nearly 40
potentially affected species, 10 but did not map where critical habitat may exist within the action
area or make any effects determinations for critical habitats. 11

        Just one month after EPA initiated formal consultation, FWS sent EPA its draft biological
opinion on the proposed action. FWS issued a final biological opinion (“BiOp”) shortly
thereafter, on November 17, 2020. The BiOp purports to address the 235 species that EPA
identified as being potentially affected in its BE. 12 FWS makes a cursory statement, with no
analysis, that it “concurs with and adopts” EPA’s list of species and “respective effect




5
  Letter from Cathryn E. Tortorici, Chief, ESA Interagency Cooperation Division, Office of
Protected Resources, NMFS to Heather Mason, PWS, Environmental Administrator, Submerged
Lands and Environmental Resources Coordination, FDEP (Apr. 15, 2020) [hereinafter NMFS
letter].
6
  BE at 252–177 (Table C.1.b). Due to an apparent error in page numbering in the BE’s footer, all
BE citations in this letter are to the PDF page number.
7
  Id. at 260.
8
  Id.
9
  NMFS letter.
10
   BE at 39–51 (Table 3-1).
11
   Id. at 52.
12
   BiOp at 45. Table C.1.b in the BE only lists 233 species, however.
                                                 6
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determinations.” 13 FWS claims it is “not possible” to detail the effects of the action, so only
“briefly summarizes major categories of impacts”—i.e., biotic stressors, physical stressors, and
physiochemical water quality stressors. 14 FWS also claims “it is not feasible, nor is it required,
to conduct a meaningful . . . species-specific effects analysis in this BiOp.” 15 FWS accordingly
refers to a generic table of potential effects on listed species and offers a vague summary of
effects that could occur to taxonomic groups (not to individual species). 16

        FWS concludes the approval of the proposed assumption “is not likely to jeopardize the
continued existence of ESA-listed species [] identified in this BiOp and is not likely to destroy or
adversely modify designated critical habitat identified in this BiOp.” 17 This conclusion is based
not on any analysis of effects to species, but rather on FWS’ assumption that the technical
assistance process detailed in the BiOp, and authorized by a Memorandum of Understanding
(“MOU”) between state and federal agencies, will provide a process to avoid jeopardy and
adverse modification from individual fill and dredge permits in the future. 18 The MOU
however does not require FWS to review, more less comment on, any permit and instead defers
all meaningful analysis to the state. 19 Moreover, FWS’ consideration of the likelihood of
jeopardy or adverse modification from the issuance of individual permits does not assess the
likelihood of jeopardy or adverse modification from the entire action under consultation—
assumed authority for all dredge and fill permits.

        The BiOp also includes an Incidental Take Statement (“ITS”) that fails to quantify likely
incidental take or specify the impacts such taking will have on affected species. 20 Rather, FWS
asserts the information in the BE “did not allow [FWS] to . . . estimate the number of individuals
that might be affected by the permitted activities.” 21 FWS claims that will be provided
information later, after the conclusion of this consultation, which may allow it in coordination
with the state agencies to estimate incidental take on a project-specific basis. 22 FWS does not
state that such information would allow it to estimate the total incidental take from EPA’s
action. FWS notes that it will “track the levels of take estimated through the technical assistance


13
   Id. Although 235 species are listed as “potentially affected species” in EPA’s BE Table 3-1,
only 233 species were included in EPA’s determination list in Table C.1.b (Effects of the Action
on ESA-listed Species).
14
   Id. at 57–58.
15
   Id. at 54.
16
   Id. at 57–65.
17
   Id. at 68.
18
   Id. at 68–69
19
   Memorandum of Understanding between Fla. Fish & Wildlife Conservation Comm’n, U.S.
Fish & Wildlife Servs., & the Fla. Dep’t of Env’t Prot., Nov. 16, 2020.
20
   Id. at 69–73.
21
   Id. at 69; see also id. at 70 (asserting FWS cannot “accurately estimate the specific amount of
incidental take at this time that is anticipated to occur as a result of the action.”).
22
   Id. at 70.
                                                  7
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process” on an ongoing basis, but does not explain how it will estimate take numbers (or
surrogates), how it will analyze cumulative effects, how it will analyze whether projects
jeopardize species or destroy critical habitat, or indicate what it will do with that information. 23
The ITS includes no incidental take limit that would trigger reinitiation of consultation if
exceeded. 24 Yet FWS states that “[i]ncidental take exemption will be afforded to EPA when its
approval of the State’s assumption [of 404 permitting] is carried out”—before FWS even receives
information on project-specific incidental take. 25

       B.      Listed Species and Designated Critical Habitats

       EPA’s approval of Florida’s assumption may affect hundreds of terrestrial, aquatic, and
avian species and critical habitats protected under the ESA. Dredge and fill of the assumed
waters can affect and cause harm to species and habitats under FWS’ jurisdiction, as well as
marine and coastal species and habitats under NMFS’ jurisdiction.

        EPA’s BE identifies 235 potentially affected species under FWS’ jurisdiction, and notes
that critical habitat has been designated for 40 of those species. However, neither the BE nor
BiOp includes nesting sea turtles, which fall under FWS’ jurisdiction. FWS explains that dredge
and fill activities in assumed waters can have direct and indirect effects on species that inhabit
Florida’s beaches. 26 Those activities can similarly affect sea turtles that nest on those beaches
(loggerhead, green, leatherback, hawksbill, and Kemp’s ridley sea turtles), most considerably by
causing coastal development that eliminates nesting habitat and disrupts nesting behavior
through lighting and other disturbances. 27

       Dredge and fill activities also may affect sturgeon while they are in freshwater (when
they are under FWS’ jurisdiction), as well as Atlantic sturgeon critical habitat in the St. Marys
River. Despite EPA’s determination that the action will have “no effect” on the Florida’s three
ESA-listed sturgeon species, FWS acknowledges that “sedimentation, water quality
degradation, and to a lesser extent direct habitat loss are potential effects.” 28




23
   Id.
24
   See id. at 73 (referring to 50 C.F.R. § 402.16 take exceedance reinitiation requirement in context
of individual permits).
25
   Id. at 70.
26
   Id. at 60.
27
   See id. at 59 (“Dredge and fill activities are also frequently associated with coastal
development.”).
28
   Id. at 63.
                                                  8
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        Moreover, the effects of the approval are not limited to only the assumed waters. The
action area also includes indirectly affected habitats. 29 In particular, dredge and fill in assumed
waters can affect downstream estuarine, marine, and tidal waters and the species that inhabit
them. 30 For example, these activities can increase sedimentation and turbidity, change water
temperature, resuspend and transport pollutants, alter water flows (temporally, spatially, and
by magnitude), and increase or change nutrient runoff. 31 As a result, marine and coastal
habitats may experience more frequent and/or widespread red tide events, changes to salinity
or bathymetry, loss of seagrass and other aquatic vegetation, changes in nutrient deposition,
and higher contaminant loads. Dredge and fill activities in upstream habitats can also alter food
webs that provide prey for marine and coastal species.

         Dozens of ESA-protected species and critical habitats (under NMFS’ jurisdiction) are
found in Florida’s bays, lagoons, inlets, and other intertidal, neritic, and nearshore oceanic
environments and may be affected by impacts from dredge and fill in assumed waters. These
include the threatened loggerhead sea turtle, the threatened green sea turtle, the endangered
Kemp’s ridley sea turtle, the endangered leatherback sea turtle, the endangered hawksbill sea
turtle, the threatened giant manta ray, the threatened Nassau grouper, the endangered
smalltooth sawfish, the endangered shortnose sturgeon, the endangered Atlantic sturgeon, and
the threatened Gulf sturgeon. Dredge and fill activities can also affect the ESA-protected
Johnson’s seagrass and elkhorn, staghorn, boulder star, mountainous star, lobed star, rough
cactus, and pillar corals in Florida’s waters. Critical habitat along the Florida coast for the
loggerhead sea turtle, smalltooth sawfish, elkhorn coral, staghorn coral, and Johnson’s seagrass
also may be affected by dredge and fill activities in assumed waters. Yet the BE does not
address effects to these species or critical habitats.

III.     NOTICE OF VIOLATION OF ESA SECTION 7, 16 U.S.C. § 1536(A)(2)

        EPA’s approval of FDEP’s assumption of CWA 404 permitting authority violates the
agency’s procedural and substantive obligations under ESA section 7(a)(2) and its
implementing regulations. 16 U.S.C. § 1536(a)(2). EPA’s approval is an “action” under ESA
section 7. See 50 C.F.R. § 402.02. ESA section 7 requires EPA to complete consultation if its
action “may affect” listed species or critical habitat. 16 U.S.C. § 1536(a)(2); 50 C.F.R. §§ 402.02,


29
   Cf. id. at 38 (“The action area consists of, and is limited to, the State-assumed waters (assumed
waters) and areas affected directly or indirectly by the action, including affected upland, terrestrial
areas. (emphasis added).
30
   See, e.g., BiOp at 42 (explaining how “freshwater eventually makes its way to the nearly
2,000 miles of Florida coastline and marine ecosystem”); BE at 58 (Fig. 4-1 – Historic
freshwater flows compared to freshwater flows after C&SF Project), 256 (describing adverse
impacts to coastal and marine birds).
31
   See, e.g., BiOp at 61 (“Permitted activities may also result in changes to hydrologic regimes
and water quality in coastal areas.”); BE at 256 (stating action could cause “[i]mpacts to habitat,
hydrology, and water quality” affecting birds in coastal and marine habitats).
                                                   9
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402.13, 402.14. EPA is not in compliance with this duty until the required consultation has been
completed, and a legally valid biological opinion has been produced. See 16 U.S.C. § 1536(b); Pac.
Rivers Council, 30 F.3d at 1056–57; Stop H-3, 740 F.2d at 1460.

        EPA’s approval may affect several species and critical habitats on which EPA failed to
consult. And EPA has failed to satisfy its section 7 duties for the species on which it did consult
because the BiOp on which EPA relies is arbitrary and capricious and contrary to law. In
addition, EPA’s reliance on the MOU between FDEP, FWCC, and FWS constitutes an unlawful
delegation of EPA’s section 7 duties, in violation of the ESA. The BiOp states that the FWS’
actions in reviewing and prescribing protective measures is not an action subject to the ESA.
However, since avoiding jeopardy and adverse modification of critical habitat hinges entirely
on the content of those measures, FWS’ actions are federal actions and must comport with the
ESA consultation and substantive requirements. In taking these actions, EPA is also violating
section 7(d) of the ESA.

          A.    Unlawful No Effect Determination on Species and Critical Habitats under NMFS’
                Jurisdiction

       EPA failed to lawfully consider the effects the approval may have on ESA-protected
species and critical habitats under NMFS’ jurisdiction and arbitrarily assumed the approval
would have “no effect” on such species in violation of its obligations under ESA section 7. 32

        EPA’s no effect determination appears to be based on finding that “ESA-listed species
under NMFS’ jurisdiction do not occur in waters that are assumable by the state” (emphasis
added) as stated in NMFS’ April 15, 2020 letter. 33 However, the ESA places an independent
duty on EPA to ensure that its action will not jeopardize species or adversely modify critical
habitat, wherever the species or habitat may be located.

        ESA section 7(a)(2) consultation must occur for species and critical habitat that are in the
“action area” and “action area means all areas to be affected directly or indirectly by the Federal
action and not merely the immediate area involved in the action.” 50 C.F.R. 402.02(d).

        NMFS’ April letter however was solely based on an action area that consisted of
“assumed” waters. To the contrary, the “action area” is not limited to the assumed waters; it
also includes areas that would be indirectly impacted by the Federal action, like waters
downstream of assumed waters. EPA therefore failed to consider, much less analyze, all areas
that would be affected directly or indirectly, as required under federal law. See 16 U.S.C.
1536(a)(2); 50 C.F.R. § 402.02(d).




32
     BE at 35.
33
     NMFS letter.
                                                 10
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       There is ample evidence that the approval may affect NMFS jurisdictional species and
habitats, as explained above. 34 The undersigned and other members of the public also
submitted comments on the proposed approval identifying EPA’s duty to consult on species
under NMFS’ jurisdiction and setting forth facts on effects to protected species that could result
from the proposed approval. 35

        EPA is required by ESA section 7(a)(2) to initiate and complete consultation with NMFS
to insure the state’s assumption will not jeopardize the continued existence of ESA-listed
loggerhead sea turtles, green sea turtles, Kemp’s ridley sea turtles, leatherback sea turtles,
hawksbill sea turtles, giant manta rays, Nassau grouper, smalltooth sawfish, shortnose
sturgeon, Atlantic sturgeon, Gulf sturgeon, Johnson’s seagrass, elkhorn coral, staghorn coral,
boulder star coral, mountainous star coral, lobed star coral, rough cactus coral, or pillar coral, or
adversely modify or destroy designated critical habitat for the loggerhead sea turtle, smalltooth
sawfish, elkhorn coral, staghorn coral, or Johnson’s seagrass. EPA has not done so, therefore is
in violation of the ESA and its implementing regulations.

       B.      Failure to Properly Consult on Certain Species under FWS’ Jurisdiction

        EPA did not consider or make an effects determination for ESA-listed sea turtles that
nest on Florida’s beaches, and accordingly did not consult with FWS on the effects the approval
may have on those sea turtles. In addition, EPA made arbitrary “no effect” determinations that
are not based on the best available science for several other species under FWS’ jurisdiction, so
failed to consult on those species. EPA also failed to obtain FWS’ written concurrence for most
of its determinations that the action is not likely to adversely affect certain species. Finally, EPA
did not make effects determinations or complete consultation on critical habitats under FWS’
jurisdiction that may be affected by the approval. EPA’s failure to complete consultation on
these FWS jurisdictional species and habitats violates EPA’s procedural and substantive
obligations under ESA section 7.

         As described above, dredge and fill activities in assumed waters may affect nesting sea
turtles in various ways. EPA therefore was required to consult with FWS on those effects, but
did not.

         There is also ample evidence that dredge and fill activities in assumed waters may affect
listed sturgeon that are found in Florida rivers. EPA appears to acknowledge the effects in its
BE, but irrationally determined the proposed action would have “no effect” on shortnose
sturgeon, Atlantic sturgeon, or Gulf sturgeon. EPA’s “no effect” determination for smalltooth
sawfish similarly disregards “[i]mpacts to aquatic habitat, hydrology, and water quality” that



34
   See also BE at 255–58 (finding action is likely to adversely affect several species that inhabit the
same coastal waters as NMFS jurisdictional species).
35
   Letter from Tania Galloni et. al, to Kelly Laylock, EPA, Nov. 2, 2020.
                                                  11
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dredge and fill activities may cause. 36 The possible effects on these species (as well as Atlantic
sturgeon critical habitat in the St. Marys River) make EPA’s “no effect” determinations arbitrary
and capricious, and require EPA to complete consultation with FWS. EPA failed to do so.

        For the same reasons that EPA’s approval may affect marine and coastal species under
NMFS’ jurisdiction (as described above), it may affect the black-capped petrel. EPA notes the
species is found “in relatively shallow waters near shore,” 37 where indirect effects are likely.
EPA’s determination that its approval will have “no effect” on the species is thus arbitrary and
capricious. EPA is required to complete consultation with FWS on the petrel, but has not done
so.

        EPA failed to obtain FWS’ written concurrence for its “not likely to adversely affect”
determinations for eight species: the gray bat, little brown bat, Indiana bat, Key Largo cotton
mouse, whooping crane, Georgia blind salamander, bigcheek cave crayfish, and Ocala vetch.
While FWS expressly concurred with EPA’s not likely to adversely affect determination for the
red wolf, 38 it issued no similar concurrences for the other species. 39 Rather, the BiOp indicates
that several of these species are likely to be adversely affected. For example, it states that mice
in tropical hardwood hammock/mangrove habitats (where the Key Largo cotton mouse is
found) are “likely to be impacted.” 40 FWS also states that “water quality degradation, and both
chemical and from sedimentation [sic], could have adverse effects” on cave-dwelling
amphibians 41—e.g., the Georgia blind salamander. And it lists adverse effects likely to occur to
crustaceans in caves, wells, or sinkhole habitats 42—e.g., bigcheek cave crayfish. Without FWS’
proper written concurrence, EPA’s “not likely to adversely affect” determinations for these
species are not final and cannot satisfy its section 7 consultation duties. EPA therefore has
failed to complete consultation as required for these eight species.

       Finally, the BE notes that critical habitat has been designated for 40 potentially affected
species. Dredge and fill activities in assumed waters may affect these critical habitats, including
but not limited to critical habitat for the Everglades snail kite, smalltooth sawfish, and Florida
manatee and proposed critical habitat for the Florida bonneted bat. EPA therefore is required to
consult with FWS on the effects the approval may have on critical habitats for these species. Yet


36
   BE at 260.
37
   Id. at 257.
38
   See BiOp at 59.
39
   The BiOp contains a statement that some bats that occur in limestone karst caves are unlikely
to be adversely affected because they “are rare/unlikely to occur in the state.” Id. at 60. But it is
unclear to which species this statement refers. The BE indicates that the gray bat does occur in
the Panhandle, and that the little brown bat is “occasionally detected” in Florida, so the BiOp’s
statement is inapplicable to at least those two species. BE at 252–53.
40
   BiOp at 59.
41
   Id. at 62; see also id. at 64 (listing adverse impacts to crustaceans cave-dwelling).
42
   Id. at 64.
                                                 12
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EPA apparently did not make effect determinations for or consult with FWS on these critical
habitats.

         EPA is required by ESA section 7(a)(2) to initiate and complete consultation with FWS to
insure the Assumption will not jeopardize the continued existence of ESA-listed loggerhead sea
turtles, green sea turtles, Kemp’s ridley sea turtles, leatherback sea turtles, hawksbill sea turtles,
shortnose sturgeon, Atlantic sturgeon, or Gulf sturgeon, or adversely modify or destroy
designated critical habitat for Atlantic sturgeon, Florida manatees, or other species identified in
BE Table 3-1. EPA has not done so, therefore is in violation of the ESA and its implementing
regulations.

        C.       Reliance on Inadequate and Legally Flawed Biological Opinion

        EPA has failed to comply with its duty to insure against jeopardy or adverse
modification for the species and critical habitats covered by FWS’ BiOp because the BiOp is
arbitrary and capricious and contrary to law. FWS concluded in the BiOp that FDEP’s
assumption of CWA section 404 permitting would not jeopardize the survival or recovery of 235
species identified in Appendix C of EPA’s BE. The BiOp is arbitrary, capricious, and contrary to
law for several reasons.

        First, FWS did not adequately describe or analyze the effects of action, as required by the
ESA and its implementing regulations. Section 7 of the ESA requires that a biological opinion
“detail[] how the agency action affects the species or its critical habitat.” 43 The ESA’s
implementing regulations specify that a biological opinion must include: “A detailed discussion
of the environmental baseline of the listed species and critical habitat [and] [a] detailed
discussion of the effects of the action on listed species or critical habitat.” 44 The BiOp provides
only vague information on the environmental baseline and the proposed action’s effects on the
more than 200 species it purports to assess—it does not come close to providing the detail
required by law. In the BiOp’s effects section, FWS simply cites a table from EPA’s BE that
contains cursory acknowledgements that the proposed action is likely to adversely affect 163
species. 45 Nowhere in the BiOp or BE does FWS or EPA, respectively, provide any detail on the
type or magnitude of effects the action may have on any particular species. Rather, FWS states
it cannot and will not detail or analyze “species-specific effects.” 46 That fails to satisfy the ESA’s
mandate to detail how the agency action affects species.

        Second, and relatedly, FWS made a blanket “no jeopardy” determination for hundreds
of species in one fell swoop, without offering any species-specific support or rationale. 47 FWS


43
   16 U.S.C. § 1536(b)(3)(A).
44
   50 C.F.R. § 402.14(h)(1)(ii), (iii).
45
   BiOp at 45.
46
   Id. at 54, 57–58.
47
   BiOp at 68.
                                                  13
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did not attempt to conduct any jeopardy analysis for any given species, nor could it given its
refusal to assess the species-specific effects of the action. FWS’ hollow, blanket jeopardy
“analysis” fails employ the best available science or otherwise comply with the ESA. 48

         Third, FWS’ reliance on the technical assistance process laid out in the BiOp and MOU in
making its no jeopardy determination violates the ESA’s consultation requirements. In addition
to unlawfully delegating ESA duties from the action agency, as described below, the MOU
authorizes a process that does not allow the agencies to assess whether the federal action—
EPA’s approval of FDEP’s CWA section 404 assumption—may jeopardize listed species or
adversely modify critical habitat. Both the MOU and BiOp set the scale of the jeopardy analysis
at the individual 404 permit-level, not the federal action level. Assessing jeopardy in such a
piecemeal, segmented way unlawfully prevents an assessment of whether the entire federal
action may jeopardize listed species or adversely modify critical habitat. There is no indication
that FWS or EPA will at any point in the future consider whether the cumulative effects of all
individual permits issued under the MOU (the effect of the agency action) may jeopardize any
species or adversely modify critical habitat. Even if they did, that would be inadequate to
satisfy the requirement to insure against jeopardy before the federal agency acts. 49 By relying on
the MOU, FWS’ no jeopardy determination is arbitrary and capricious and contrary to law.

         Fourth, the ITS in the BiOp is arbitrary and capricious and contrary to law. The ITS
must quantify likely incidental take and specify the impacts such taking will have on affected
species. 50 It must include a rational take trigger and this trigger cannot be an amount of take
that causes jeopardy. 51 The amount of take authorized may not be coextensive with the scope of
the agency action because such a take limit will not serve as a check on the assumptions
underlying the no-jeopardy conclusion or a trigger for reinitiation of consultation. 52 FWS
expressly declines to quantify any amount of expected incidental take or specify the impacts of
such taking on any species. 53 It does not attempt to set a surrogate to measure or limit take. It
thus establishes no limit on the allowable amount of take that the delegation will cause. And it
fails to set any rational take trigger for reinitiating consultation. 54

       FWS’ apparent reliance on the MOU process (which is not a section 7 consultation) to
quantify take in the future is likewise unlawful. 55 FWS’ regulations detailing consultation on
programmatic action explain that an ITS is not required at the programmatic level because any


48
   16 U.S.C. § 1536(a)(2), (b).
49
   See Pac. Rivers Council v. Thomas, 30 F.3d 1050, 1056–57 (9th Cir. 1994).
50
   16 U.S.C. § 1536(b)(4); 50 C.F.R. § 402.14(i)(1)(i).
51
   50 C.F.R. § 402.14(i)(4); Salazar, 695 F.3d at 911.
52
   Or. Nat. Res. Council v. Allen, 476 F.3d 1031, 1038–41 (9th Cir. 2007).
53
   BiOp at 70.
54
   See id. at 73.
55
   See 50 C.F.R. § 402.14(i)(6) (permitting deferral of ITS requirements only if those requirements
“will be addressed in subsequent section 7 consultation”).
                                                14
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incidental take resulting from any subsequent action under that program “will be addressed in
subsequent section 7 consultation.” 56 According to EPA, the subsequent actions under the
program, i.e. assumption, will explicitly not be addressed in subsequent consultation, but
instead will go through a “coordination process . . . that is similar” to section 7 consultation. 57
Therefore, FWS is not following its own regulations regarding programmatic consultation.

        The ITS also must include adequate measures to minimize take and must compel federal
agencies and applicants to implement such measures. 58 The ITS, however, relies on a future
process to minimize take, which lacks sideboards to ensure that the take will not cause jeopardy
or be at odds with the biological opinion’s assumptions and conclusions. It provides EPA take
coverage once the CWA delegation is approved without requiring EPA to implement ESA take
minimization measures. It also appears to provide permittees conditional take coverage if they
comply with all permit conditions that minimize take. The nature and adequacy of such
conditions is not yet known, however, so FWS lacks a reasoned basis for determining the
permits and permittee actions in compliance with them will not result in an unacceptable
amount of take. Accordingly, the ITS fails to specify or require the reasonable and prudent
measures necessary to minimize take, or ensure that such measures are adequate. The ITS fails
to comply with the requirements of the ESA and its implementing regulations, and,
accordingly, the BiOp is invalid because it lacks a valid ITS. 59

        The substantive goal of consultation under ESA section 7(a)(2) is to ensure that federal
actions do not jeopardize the continued existence of listed species or adversely modify critical
habitat. Federal agencies may not take action that could harm a listed species until they have
completed the ESA section 7(a)(2) consultation process and have received a valid biological
opinion. The BiOp is not valid for the reasons described above, so EPA may not rely on this
document to conclude that its actions will avoid jeopardy or to satisfy its procedural duties
under the ESA. Under these circumstances, the ESA requires that EPA avoid any action that
causes harm to listed species or designated critical habitat pending compliance with the
procedural requirements of section 7(a)(2). By approving FDEP’s assumption request, EPA is in
violation of section 7(a)(2).

        D.      Unlawful Delegation of ESA Section 7 Obligations

        Section 7(a) of the ESA places the duty on EPA to determine what effects a state’s
assumption of the 404 program may have on listed species and their critical habitats and to
ensure its action (approval of state assumption) will not jeopardize the continued existence of
listed species. 60 The FDEP, USFWS and FWCC MOU lays out a process whereby the EPA will


56
   Id. (emphasis added).
57
   MOU at 4.
58
   Id. § 402.14(i)(1)(ii), (iv).
59
   16 U.S.C. § 1536(b)(4); 50 C.F.R. § 402.14(i).
60
   16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14.
                                                    15
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rely on a then-future, abridged programmatic biological opinion that merely instructs FDEP
and FWCC to determine at the project level if an activity may affect listed species or critical
habitat, determine whether there will be jeopardy, and determine what conditions may be
necessary to ensure no jeopardy. However, these determinations must be made by the federal
action agency in consultation with the federal wildlife agencies. 61

        The MOU makes FWS’ oversight of future permits only limited and discretionary.
EPA’s effective delegation of its section 7(a)(2) obligations to state agencies through the MOU is
arbitrary and capricious and violates the ESA. Moreover, there is no factual basis to make a no
jeopardy finding in light of Florida’s track record regarding the protection of listed species. 62
Indeed, the approval of the MOU itself which memorializes FWS’ action of creating a new
technical assistance process intended to supplant section 7 consultation, is itself FWS agency
action subject to consultation. It does not appear FWS has conducted the necessary intra-agency
consultation on the MOU.

     EPA’s effective delegation of its section 7(a)(2) obligations to state agencies through the
MOU is also arbitrary and capricious and violates the ESA.

        Under this scheme, avoiding jeopardy and adverse modification of critical habitat will
depend entirely on the content of FWS’ review of projects and its proposed protective measures.
Neither the delegation nor the BiOp establishes binding standards for such measures. The BiOp
states that FWS’ review and protective measures are not actions subject to section 7 of the ESA,
which purports to divorce FWS’ actions from the substantive jeopardy standard. Because FWS’
review plays such a central role, which will greatly impact and even possibly determine the
survival and recovery of listed species in Florida, it will result in actions subject to section 7 and
the BiOp’s attempt to exempt those actions from section 7 itself violates that section.

IV.     NOTICE OF VIOLATION OF ESA SECTION 7, 16 U.S.C. § 1536(d)

        Section 7(d) of the ESA prevents federal agencies from making “any irreversible or
irretrievable commitment of resources . . . which has the effect of foreclosing the formulation or
implementation of any reasonable and prudent alternative measures.” 63 “This prohibition . . .
continues until the requirements of section 7(a)(2) are satisfied.” 64 The additional restrictions
imposed by section 7(d) are in effect because EPA initiated the consultation process, but it has
not completed the process lawfully with the issuance of a valid biological opinion. The
prohibition against the irreversible and irretrievable commitment of resources applies to EPA’s
approval of FDEP’s assumption, and adoption and implementation of FWS’ BiOp.



61
   16 U.S.C. § 1536(a)(2).
62
   Letter from Tania Galloni et. al, to Kelly Laylock, EPA, Nov. 2, 2020.
63
   16 U.S.C. § 1536(d).
64
   50 C.F.R. § 402.09.
                                                 16
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        EPA is violating this prohibition by taking actions that could potentially foreclose
implementation of measures required to avoid jeopardy, including but not limited to approving
FDEP’s assumption of the CWA section 404 program and ability to immediately begin
permitting dredge and fill activities in assumed waters. Such permitted activities may not be
able to be reversed before EPA comes into compliance with section 7(a)(2). These and other
actions that make irreversible or irretrievable commitments of resources violate ESA section
7(d).

V.        NOTICE OF VIOLATION OF ESA SECTION 9, 16 U.S.C. § 1538

        Without a biological opinion from FWS and NMFS and accompanying ITS including
reasonable and prudent measures and terms and conditions to minimize impacts and incidental
take, the EPA and FDEP do not have incidental take authorization, and therefore any actions
they authorize that result in take violate section 9 of the ESA. 65

                                             *     *      *

       If EPA fails to cure its violations within 60 days of receiving this letter, the Center for
Biological Diversity, Defenders of Wildlife, Conservancy of Southwest Florida, Florida Wildlife
Federation, Miami Waterkeeper, and St. Johns Riverkeeper intend to file suit for declaratory
and injunctive relief. See 5 U.S.C. § 706(2); 16 U.S.C. § 1540(g)(1)(A).

       If you believe any of the foregoing is in error, have any questions, or would like to
discuss this matter, please do not hesitate to contact us.



Sincerely,




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65
     16 U.S.C. § 1536(b)(4); 16 U.S.C. § 1538.
                                                  17
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